                         Fourth Court of Appeals
                                San Antonio, Texas
                                     JUDGMENT
                                   No. 04-22-00432-CR

                                  Rolando MENDOZA,
                                       Appellant

                                            v.

                                  The STATE of Texas,
                                        Appellee

                From the 175th Judicial District Court, Bexar County, Texas
                              Trial Court No. 2019CR9296
                    Honorable Catherine Torres-Stahl, Judge Presiding

 BEFORE JUSTICE CHAPA, JUSTICE WATKINS, AND CHIEF JUSTICE MARION (Ret.)
                           (sitting by assignment)

     In accordance with this court’s opinion of this date, the trial court’s judgment is
AFFIRMED.

      SIGNED August 21, 2024.


                                             _____________________________
                                             Luz Elena D. Chapa, Justice
